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              EXHIBIT 1
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      RETURN DATE: JUNE 26, 2018                            JUDICIAL DISTRICT

       ERICA LAFFERTY, ET AL,                               OF FAIRFIELD

       v.                                                   AT BRIDGEPORT

       ALEX JONES, ET AL.                                   MAY 23, 2018


                                        COMPLAINT

                                      INTRODUCTION

      1.    This is a civil action for damages leading from the mass shooting that happened at
Sandy Hook Elementary School on December 14, 2012.

       2.    Just before 9:30 AM that morning, Adam Lanza shot his way into the locked school
with a Bushmaster XM15-E2S.

      3.     In less than five minutes, he shot and killed 20 first-grade children and 6 adults.
Two others were wounded.

       4.     That tragic day left behind 26 families that will never be whole again.

       5.      Every day since, those families have struggled to reconcile themselves with the
irrevocable loss of their beloved sons, daughters, sisters, brothers, and mothers.

        6.     Even though overwhelming-and indisputable-evidence exists showing exactly
what happened at Sandy Hook Elementary School on December 14, 2012, certain individuals have
persistently perpetuated a monstrous, unspeakable lie: that the Sandy Hook shooting was staged,
and that the families who lost loved ones that day are actors who faked their relatives' deaths.

       7.      Defendant Alex Jones is a conspiracy-theorist radio and internet personality who
holds himself out as a journalist. He is the most prolific among those fabricators. But he does not
work alone: along with his various business entities, Jones is the chief amplifier for a group that
has worked in concert to create and propagate loathsome, false narratives about the Sandy Hook
shooting and its victims, and promote their harassment and abuse.

        8.     Jones, along with these others, has persisted in the perpetuation and propagation of
this outrageous, deeply painful, and defamatory lie in the face of a mountain of evidence to the
contrary, and with no supporting evidence.

       9.     Alex Jones does not in fact believe that the Sandy Hook Shooting was a hoax-and
he never has.
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        10.     Nevertheless, time and again, Jones has accused Sandy Hook families, who are
readily identifiable, of faking their loved ones' deaths, and insisted that the children killed that
day are actually alive.

        11.    Jones has deliberately employed these false narratives about the Sandy Hook
shooting, the victims, and their families as part of a marketing scheme that has brought him and
his business entities tens of millions of dollars per year. 1

         12.    Jones has an audience of millions. He has repeatedly urged them to "investigate"
the Sandy Hook shooting. He has purposely published statements by other people who falsely
assert that the Sandy Hook shooting was a hoax.

       13.    As a result of Jones's campaign, the families and survivors of the Sandy Hook
shooting have been forced to endure malicious and cruel abuse at the hands of ruthless and
unscrupulous people.

       14.   On a regular basis, the families and survivors have faced physical confrontation
and harassment, death threats, and a sustained barrage of harassment and verbal assault on social
media.

         15.     They have confronted strange individuals videotaping them and their children.

         16.     Some of them have moved to undisclosed locations to avoid this harassment.

     17.    The plaintiffs bring this action in defense of the values protected by the First
Amendment to the U.S. Constitution, not in derogation of it.

        18.   Like any marketplace, the marketplace of ideas that the First Amendment was
meant to protect cannot function properly without accountability for reprehensible conduct like
the defendants'. In fact, the defendants themselves have proven this to be so by their successful
propagation of the blatantly false and harmful aspersions described in this Complaint.

         19.     The First Amendment has never protected demonstrably false, malicious
 statements like the defendants'. This is because "there is no constitutional value in false
 statements of fact. Neither the intentional lie nor the careless error materially advances society's
 interest in 'uninhibited, robust and wide-open' debate on public issues." 2



 1
   See Seth Brown, Alex Jones 's Media Empire ls a Machine Built to Sell Snake-Oil Diet Supplements,
 N.Y. MAG. (May 4, 2017), http://nymag.com/selectall/2017 /05/how-does-alex-jones-rnake-money.html;
 Alex Seitz-Wald, Alex Jones: Conspiracy, Inc., SALON (May 2, 2013), htlps://www.salon.com/2013/05/
 02/alex jones conspiracy inc/.
 2
   Gertz v. Robert Welch, Inc., 418 U.S. 323,340 (1974) (quoting New York Times Co. v. Sullivan, 376
 U.S. 254, 270 (l 964)). While the Supreme Court has afforded "a measure of strategic protection" to
 certain kinds of falsehoods to ensure that speech protected by the First Amendment has "the breathing
 space to survive," it has never wavered in its determination that falsehoods have no First Amendment
 value. Id. at 342. None of the Court's protective doctrines interfere with the plaintiffs' claims in this case.


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        20.      This lawsuit is about holding Jones and the other defendants accountable for the
effects of their outrageous, malicious, and deeply hurtful lies.

                                            PARTIES

        21.    The plaintiffs are the immediate family of four children and two educators killed
at Sandy Hook Elementary School, in Newtown, Connecticut, on December 14, 2012, as well as
one first-responder to the scene.

        22.    Plaintiffs Jacqueline Barden and Mark Barden are the parents of murdered first-
grader Daniel Barden, who was seven years old at his death on December 14, 2012. They reside
in Fairfield County, Connecticut.

        23.    Plaintiffs Nicole Hockley and Ian Hockley are the parents of murdered first-
grader Dylan Hockley, who was six years old at his death on December 14, 2012. They reside in
Fairfield County, Connecticut.

        24.     Plaintiffs Francine Wheeler and David Wheeler are the parents of murdered first-
grader Benjamin Wheeler, who was six years old at his death on December 14, 2012. They
reside in Fairfield County, Connecticut.

        25.    Plaintiffs Jennifer Hensel and Jeremy Richman are the parents of murdered first-
grader Avielle Richman, who was six years old at her death on December 14, 2012. They reside
in Fairfield County, Connecticut.

        26.     Plaintiffs Donna Soto is the mother, and Carlee Soto-Parisi, Carlos M. Soto, and
Jillian Soto are the siblings, of murdered first-grade teacher Victoria Leigh Soto, who was 27
years old when she died shielding her students from Adam Lanza's murderous rampage at Sandy
Hook Elementary School on December 14, 2012. They reside in Fairfield County, Connecticut.

       27.   Plaintiff Erica Lafferty is the daughter of Dawn Hochsprung, the principal of
Sandy Hook Elementary School on December 14, 2012. Dawn died that day trying to save her
students from Adam Lanza's murderous rampage. Erica resides in Litchfield County,
Connecticut.

         28.      Plaintiff William Aldenberg was a first responder to Sandy Hook Elementary
 School on December 14, 2012, and was depicted in iconic photographs and video footage from
 those events. He has been antagonized by some of the defendants and their followers, who claim
 that he is a crisis actor. He resides in Worcester County, Massachusetts.

       29.     The defendants are out-of-state business entities and individuals residing in
 Connecticut, Texas, and Florida.

        30.    Defendant Alex Emric Jones ("Alex Jones" or "Jones") is a radio and internet
 personality who holds himself out as a journalist and is a resident of Austin, Texas. He is the host
 of shows including "The Alex Jones Show," and owns and operates the websites lnfowars.com



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and PrisonPlanet.com. Jones's shows have millions of weekly listeners and are syndicated on
approximately 60 radio stations.

       31.     Defendant Infowars, LLC ("Infowars") is a Texas limited liability company that
produces and broadcasts Alex Jones' Infowars, which holds itself out as a news and journalism
platform. Its principal offices are located at 100 Congress Avenue, 22nd Floor, Austin, Texas
78701.

       32.    Defendant Free Speech Systems, LLC is a Texas limited liability company. It
owns Infowars.com. Its principal offices are located at 100 Congress Avenue, 22nd Floor,
Austin, Texas 78701.

        33.     Defendant Infowars Health LLC is a Texas limited liability company. Its principal
offices are located at 100 Congress Avenue, 22nd Floor, Austin, Texas 78701.

       34.      Defendant Prison Planet TV LLC is a Texas limited liability company. Its
principal offices are located at 100 Congress Avenue, 22nd Floor, Austin, Texas 78701.

       35.     All the above-mentioned Texas business-entity defendants are owned, controlled,
and/or operated by defendant Alex Jones and are employed to hold and generate revenue for him.
They and Jones shall hereinafter be referred to collectively as "the Jones defendants."

        36.    Defendant Wolfgang Halbig holds himself out as a journalist and investigator and
resides in Sorrento, Florida. He is the creator and operator of the defamatory and predatory
websites SandyHookJustice.com and MonteFrank.com.

        37.    Defendant Cory T. Sklanka holds himself out as a journalist and investigator and
resides in Meriden, Connecticut. He has worked closely with Halbig in Halbig's Sandy Hook
"investigative" work, including acting as driver and camera operator when Halbig has visited
Connecticut to conduct those activities, and, on information and belief, participating in the
operation of SandyHookJustice.com and co-hosting Sandy Hook Justice broadcasts.

        38.     Defendant Genesis Communications Network, Inc., is a privately held company
 incorporated in Minnesota. It distributes radio programs produced by Alex Jones and Infowars,
 and was founded by Ted Anderson, who has appeared many times on Jones's shows, to promote
 his other business, defendant Midas Resources. 3 Its principal offices are located at 190
 Cobblestone Lane, Burnsville, Minnesota, 55337.

        39.     Defendant Midas Resources, Inc., is a privately held company incorporated in
 Minnesota. Its principal offices are located at 190 Cobblestone Lane, Burnsville, Minnesota,
 55337. It has sold precious metals, dietary supplements, and other items as advertised by and in
 cooperation with defendant Genesis Communications and the Jones defendants. 4


 3
      httpi.://www.youtube.com/watch?v=M-a0ntY8me0; Nate Blakeslee, Alex Jones ls About to Explode,
 TEX. MONTHLY (Mar. 20 l 0) https://www.texasmonthly.com/politics/alex-jones-i'i-about-to-cxplode/ .
 .i   Id.


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       THE DEFENDANTS' KNOWLEDGE, ASPIRATIONS, AND INFLUENCE

       40.     Jones has a radio audience of more than two million people. The Alex Jones
Show is syndicated on more than 60 radio stations. On the internet, Jones and Infowars reach
millions more. Jones' s YouTube channel has more than 2.3 million subscribers.

        41.    Jones has repeatedly expressly stated that he aspires to spur his followers to
action, and has acknowledged that his exhortations have that effect. This is especially true with
regard to the Sandy Hook shooting.

        42.    For instance, on June 12, 2017, The Alex Jones Channel posted a video. Speaking
of his interview with Megyn Kelly on NBC and specifically about Sandy Hook, Jones stated,
"That's why you keep missing the main calculation. I am a precision-guided heavy munition
coming in on top of you .... So I hit the barbed wire, and everyone comes in over me. Have you
seen what we've done how talk radio now sounds just like me .... Have you seen how the
whole paradigm is globally shifting and you can't hold it back?"

         43.  Later in the video, Jones stated, "I'm making it safe for everyone else to speak out
just like Trump's doing, on a much bigger scale."

       44.    Jones has not just attempted to give his followers permission to question reality.
He also has specifically urged them to action.

       45.     His followers have shown themselves ready to comply.

       46.    On November 27, 2016, for instance, Jones spoke at length about "Pizzagate," a
baseless conspiracy theory alleging that Democratic operatives were running a child-sex ring out
of a Washington, D.C. pizza restaurant. He urged his followers to "investigate" the matter.

        47.     "You have to go investigate it for yourself," he told them. "But I will warn you,
this story that's been the biggest thing on the internet for several weeks, Pizzagate as it's called,
is a rabbit hole that is horrifying to go down .... Something's going on. Something's being
covered up. This needs to be investigated."

        48.    Jones's followers came running to his call, as he knew they would.

        49.    The pizzeria received hundreds of threats. Its owner told The New York Times,
"[W]e've come under constant assault. I've done nothing for days but try to clean this up and
protect my staff and friends from being terrorized."

         50.    The owner and staff, along with some of their families, were harassed on social
 media websites. The owner received death threats. Even musical groups that had performed at
 the pizzeria and nearby businesses were harassed.




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        51.    On December 4, 2016, Edgar Maddison Welch, a self-described Alex Jones
follower, drove from Salisbury, North Carolina, to Washington, D.C., and fired three rounds into
the pizzeria with an AR-15-style rifle.

       52.     Welch told police that his objective was to "self-investigate" the Pizzagate
conspiracy theory. In fact, just days before embarking on his violent "self-investigation," Welch
urged a friend to watch "PIZZAGATE: The Bigger Picture," an lnfowars video.

       53.     Shortly thereafter, Jones removed his November 27, 2016 video and scrubbed
references to his advocacy of the Pizzagate conspiracy theory.

        54.    Similarly, many of the persons who have directly harassed or abused Sandy Hook
families have been motivated by Jones's urging that his listeners "investigate."

        55.     In 2017, a Florida woman was sentenced to prison for threatening the father of a
child killed at Sandy Hook.

       56.     She made four voicemail and email threats to the father, with statements like "you
gonna die, death is corning to you real soon" and "LOOK BEHIND YOU IT IS DEATH."

       57.    The woman's defense lawyer stated that she was primarily motivated by what she
had read and seen on Infowars.com, Jones's website.

        58.    On numerous occasions, Jones has hosted on his show Wolfgang Halbig, a self-
styled investigator who is amongst the most prominent of those people who falsely claim that the
Sandy Hook shooting was a hoax.

        59.   Halbig is a 70-year-old former police officer and school administrator living in
Florida. He has made more than 22 trips to Connecticut relating to the allegations of this
Complaint, including delivering highly confrontational testimony before the Newtown Board of
Education, and was warned by police that he would be charged with harassment unless he ceased
contacting Newtown residents.

       60.     Defendant Sklanka has facilitated Halbig's harassing and defamatory activities in
Connecticut. He has acted as Halbig's driver, camera operator, helped Halbig operate his
website, and co-hosted broadcasts asserting that the Sandy Hook shooting was a hoax. On
information and belief, Sklanka assisted and was present with Halbig when he filmed and
harassed children families at the St. Rose of Lima church in Newtown, Connecticut on June 2,
2015.

         61.     Kevin Laprade, an lnfowars videographer, accompanied Halbig on at least some
 of his "investigative" trips to Connecticut. 5




 5
     https://www.facebook.com/mert.melfa/video:-/539807396217619/.


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        62.    Halbig has filed numerous Freedom of Information Act requests over the years
since the shooting, seeking police documents, insurance claims, portable toilet orders, and other
types of information.

         63.   Halbig has raised more than $100,000, largely on GoFundMe.com, for his
activities.

        64.     Tiffany Moser helped Halbig search Newtown Board of Education documents for
evidence that the school was closed before the shooting. When she reported that all the evidence
indicated that the school had been open, Halbig dismissed her.

       65.     Halbig was banned from St. Rose of Lima, a Newtown church, after he and others
were seen videotaping children entering and exiting the building. On information and belief,
Sklanka participated in this venture.

       66.     In May 2014, Halbig spoke at a public meeting of the Newtown Board of
Education, in Newtown, Connecticut.

        67.    After the meeting, Leonard Pozner emailed Halbig, seeking to persuade him to
leave the Sandy Hook families alone. Halbig never responded, but another person did. He stated:
"Wolfgang does not wish to speak with you unless you exhume Noah's body and prove to the
world you lost your son."

        68.    Halbig's activities were well known when he first appeared on the Alex Jones
Radio Show, and throughout the times during which Jones hosted his appearances; in fact, Jones
invited and hosted him on his show, time and again, precisely because of his activities.

      69.    On his show, Jones expressly encouraged Halbig to continue these activities on
numerous occasions.

       70.    During that broadcast of the Alex Jones Radio Show, Jones repeatedly advertised
Halbig's website, sandyhookjustice.com.

        71.    Hal big' s website made numerous false, outrageous, and defamatory statements
about the plaintiffs.

               A. For instance, the website accused Jeremy Richman, father of Avielle Richman,
                  who was murdered at Sandy Hook Elementary School on December 14, 2012,
                  of having fabricated his daughter's identity and faked her death "to steal
                  money from hard-working Americans." Those false and outrageous
                  accusations were accompanied by pictures of Jeremy, Avielle, and an unrelated
                  Newtown child.

               B. Halbig's website further stated that "Jeremy Richman & Jennifer Hensel
                  continue to deceive and defraud the American public and collect donations for
                  The Avielle Foundation, for A vielle Richman claiming she is dead, when in



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                   reality, she is alive and was never their daughter." It further stated: "The
                   corruption, fraud, and treason must stop, especially at the Bridgeport,
                   Connecticut Law Firm of Pullman & Comley LLC, managers of the My Sandy
                   Hook Family Fund, actively engaging in FRAUD by soliciting donations from
                   the public for a murder victim who is still alive." 6

               C. Halbig's website contained links to numerous lnfowars and/or Alex Jones
                  videos claiming that the Sandy Hook shooting was a hoax, as well as videos
                  that contained imagery and the names of some of the plaintiffs' children. 7

               D. It also published images, text, and video asserting that plaintiffs William
                  Aldenberg and David Wheeler are in fact the same person, who is a crisis
                  actor.

               E. Faced with invasion-of-privacy lawsuits, Halbig took down his website in
                  August 2016. However, he has continued to publish false, malicious, and
                  defamatory statements regarding the Sandy Hook shooting and its victims
                  continually through Facebook, email, and various radio and internet media
                  outlets.

         72.     Halbig has also published Facebook posts containing images and text asserting
that plaintiffs William Aldenberg and David Wheeler are in fact the same person, and that person
is a crisis actor. 8 His Face book page continues to display those publications.

       73.     Jones was aware that Halbig had published such statements through his website
and other outlets. In fact, Jones brought Halbig onto his shows for the very purpose of eliciting
and publishing such statements.

        74.    In addition to hosting Halbig on his show time and again, Jones specifically
directed and encouraged Halbig to continue his Sandy-Hook-related activities in Connecticut.
Jones and other Infowars personnel specifically solicited that their audience contribute funds to
Halbig so that he could continue his efforts.

        75.    In fact, Jones and Infowars sent Infowars personnel to Connecticut to conduct live
"reporting" on Halbig's activities and publish his false, defamatory, and outrageous accusations
about the plaintiffs.



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  https://web.archive.org/weh/'.20160322115755/hltp://sandvhookjusticereport.com:80/monte-frnnk/
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forens ic-expert-wi tness-gi rl-pholos-lenie-urbi na/.
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  https://web.archive.org/web/20 I 5073 IO I4342/http://www.sandyhookjustice.com:80/.
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  See, e.g., https://www.facebook.com/wolfgang.halbig. l/posts/ 196562527355324;
https://www.facebook.com
/wnlfirnng.halbi!a!. l /posts/ l 95439914134252.
https://www.facebook.com/photo.php?tbid= I 96561627355-l-14&set=pb.l00010047343967.-
2207520000. I52666 I4:?.3.&type=3&theater.


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       76.     For instance, on May 29, 2015, The Alex Jones Channel published an Infowars
video, now posted on YouTube with the title "School Administrator Exposes Sandy Hook
Stonewall. " 9

       77.    The video was introduced by David Knight. The video then cut to Dan Bidondi,
an lnfowars reporter, who was reporting from Halbig's Freedom of Information Act hearing in
Hartford, Connecticut.

       78.    Infowars reporter Dan Bidondi had traveled to Hartford, CT to "report" on this
hearing on behalf of Infowars and Alex Jones.

       79.     On information and belief, other lnfowars employees, apparent agents, and/or
agents, including videographer Kevin Laprade, lO traveled to and were located in Hartford,
Connecticut, for the creation of this video.

       80.      Sklanka acted as Halbig' s driver, and actively facilitated his appearance on
Infowars. 11

       81.      On July 7, 2015, The Alex Jones Show broadcast a video now posted on YouTube
with the title "Retired FBI Agent Investigates Sandy Hook: MEGA MASSIVE COVER UP." 12

        82.    Jones noted, referring to the May 29, 2015 video, "I knew that we'd sent a
reporter, Dan Bidondi, there for days, to cover the city council hearings about it, the fact that
they're sealing everything." 13

        83.    Jones and lnfowars purposefully sought to direct their message and spur
"investigation" of the Sandy Hook families and the Newtown, Connecticut community in other
ways, as well. For example, Jones took calls from listeners who called claiming to live close to
Newtown, Connecticut, and encouraged them to continue their "investigations." 14

       84.    Jones and the rest of the Jones defendants acted together to develop, disseminate,
and propagate the false statements described in this Complaint.

       85.     Similarly, Sklanka and Halbig acted together, and they both acted together with
the Jones defendants, to develop, disseminate, and propagate many of the false statements
described in this Complaint.




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    https://www .youtube.com/watch?v=SO8Xb-t4nT4.
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     https://www .facebook.com/photo.php?tbid= 10209638407 l 82257 &set=a.349551035 l 748.:::! 134051.
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     https://www.voutube.com/watch?v=4 2FznkfcBU.
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     https://www.youtube.com/watch?v=jCOc3qfgyFA.
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     https://www .youtube.com/watch?v=TGCfi otOCU.


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       86.     Jones and other Infowars personnel mentioned in this Complaint were at all
relevant times servants, agents, apparent agents, employees, and/or joint venturers of the Jones
defendants.

      87.     Defendant Hal big was at all relevant times a servant, agent, apparent agent,
employee, and/or joint venturer of the Jones defendants.

      88.     Defendant Sklanka was at all relevant times a servant, agent, apparent agent,
employee, and/or joint venturer of Halbig and the Jones defendants.

        89.    Defendants GENESIS COMMUNICATIONS and MIDAS RESOURCES both
participated in this conspiracy and independently distributed the publications contained in this
Complaint.

            THE DEFENDANTS' SANDY-HOOK-BASED BUSINESS MODEL

        90.    The Jones defendants and their co-conspirators' conduct is based on a simple
motive: greed. The defendants' business model is based on their fabrication, propagation, and
amplification of conspiracy-minded falsehoods like those about Sandy Hook. It is a very
lucrative business model.

      91.    The Jones defendants have developed and cultivated an audience through the
propagation of narratives revolving around paranoia, social anxiety, and political discord, a
known motivator for some people. 15

        92.    The false claim that the Sandy Hook shooting was a government-sponsored hoax
designed to lead to gun control was therefore a prime narrative for attracting, augmenting, and
agitating Jones's audience.

        93.    Jones and his subordinates hold themselves out as trusted newsmen, assiduously
assuming the paraphernalia and symbology of television and radio journalism. This is obvious to
anyone watching or listening to Infowars content: the consciously deepened voice; the news-
anchor's huge Lucite desk; the shuffling of papers; the clipped news-anchor's diction and regular
tone modulation; the title-and-picture callouts by story; the breaking-news broadcast opening and
transition graphics using lnfowars logos; the regular references to Infowars "reporters" and
"investigations."

         94.    Once he has their attention and trust, Jones exploits his audience by selling them
 products in line with the paranoid worldview he promotes. In his internet-based and broadcast
 radio shows, the Jones defendants hawk "open currency" precious metals, pre-packaged food and
 dietary supplements, "male enhancement" elixirs and radiation-defeating iodine tablets, gas




 15
   See generally Richard J. Hofstatdler, The Paranoid Style in American Politics, and Other Essays
 (1964).


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masks and body armor, and various customized AR-15 "lower receivers" (the extruded metal
frame that encloses the breach, ammunition feed and firing mechanism of the rifle). 16

       95.    According to non-parties Bankrate LLC and Celebrity Net Worth, in mid-2017,
Alex Jones himself had a personal net worth of approximately $10,000,000. According to non-
party Worth of the Web, an Internet-based clearinghouse that brokers sales among existing
websites and web-based businesses, lnfowars.com is worth approximately $68,000,000.

        96.    In May 2013, just six months after the Sandy Hook shootings, when his false
narrative about those events was beginning to crescendo, an investigative reporter estimated that
Alex Jones was making approximately $10,000,000 annually, which excluded any additional
revenue attributable to book and DVD sales, remunerated speaking engagements and on-line
merchandise sales, promotional tie-ins and royalties. 17

        97.    In other words, the Jones defendants concoct elaborate and false paranoia-tinged
conspiracy theories because it moves product and they make money. Jones and his subordinates
say what they say not because they are eager to educate or even to entertain their audience.
Rather, they deliberately stoke social anxiety and political discord in their listeners, because
distrust in government and cultural tribalism motivate those listeners to buy their products.

        98.    News reports confirm that Jones and his business entities engage in the kind of
conduct described in this Complaint not because they truly believe what they are saying, but
rather because it increases profits.

       99.     Former employees described "money-bomb fundraisers" that raised $100,000 in a
day (for a for-profit entity), and programming being chosen based on its "being sensational and
making money." "People were just so taken by the information we'd been pushing they'd do
anything," one said. 18

        100. In fact, during the legal proceedings in which Jones sought custody of his three
children, Jones's own attorney argued that Jones's two decades of activities were mere
"performance art" and that "he's playing a character." 19




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   https ://w ww. lN FOW A RS store .com/ gear/personal-protecti ve-gear/victory-series-2-rninu te man-Ii mited-
ed ition-80-l ower-ar-recei ver. htrnl.
17
   Alex Seitz-Wald, Alex Jones: Conspiracy, Inc., Salon (May 2, 2013).
18
   Charlie Warzel, Alex Jones Will Never Stop Being Alex Jones, Buzzj'eed (May 3, 2017),
https://www.buzzfeed.com/charliewarzel/alex-jones-will-never-stop-beinsz-alex.-jones?utm term=
. vqXcXzdLEZ#.qewdqoNOm2.
19
   Corky Siemaszko, lnfoWars'Alex Jones ls a 'Pe1j'ormance Artist,' His lawyer Says in Divorce
Hearing, NBCNews (Apr. L7, 2017), https://www.nbcnews.com/news/us-new'i/not-faJ...e-news-infowars-
alex-jones-performance-arrist-n747..J.91.



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                                  THE CAMPAIGN OF ABUSE

        101. Jones's and Infowars's campaign of abuse began only days after the plaintiffs lost
their loved ones to Adam Lanza's murderous rampage.

      102. On December 19, 2012, Infowars.com published an article entitled "FATHER OF
SANDY HOOK VICTIM ASKS 'READ THE CARD?' SECONDS BEFORE TEAR-JERKlNG
PRESS CONFERENCE." 20

        103.    That article alleges that Robbie Parker, father of six-year-old Emilie Parker, read
off a card at a press conference the day after his daughter was killed. The article asked, "Is the
establishment media trying to steer the victims' reactions?"

        104.    An embedded video was entitled: "Sandy Hook Shooting Exposed As a Fraud."

        105. At the bottom of the article, a "Statement from Alex Jones" said, "It appears that
members of the media or government have given him a card and are telling him what to say as
they steer reaction to this event, so this needs to be looked into."

     106. On January 8, 2013, Infowars.com published an article entitled: "COLLEGE
PROFESSOR SAYS 'CRISIS ACTORS' MAY HAVE PLAYED PART IF SANDY HOOK
WAS INDEED A HOAX." 21

         107. The article quoted James Tracy, a former Professor at Florida Atlantic University
who has since been fired: "After such a harrowing event why are select would-be family
members and students lingering in the area and repeatedly offering themselves for interviews? ..
. A possible reason is that they are trained actors working under the direction of state and federal
authorities and in coordination with cable and broadcast network talent to provide tailor-made
crisis acting that realistically drives home the event's tragic features."

        108. In the narratives and parlance of mass-shooting conspiracy theorists, "crisis
actors" are actors employed by government agencies or other powerful actors to stage shootings,
in which they play victims, witnesses, and bystanders.

      109. The article is accompanied by an embedded video with the title "Sandy Hook
Mass Media Psyop: Outtakes and Bloopers."

        110. A reasonable person would understand these statements, including the title of the
embedded video, to assert that the Sandy Hook massacre was staged, and that the plaintiffs
fabricated the deaths of their loved ones.

 20
    Infowars.com, Father of Sandy Hook Victim Asks 'Read the Card?' Seconds Before Tear Jerking Press
 Conference, Info wars (Dec. 19, 2012), https ://www. infowars.corn/fo ther-of-sandv-hook-victim-as ks-rcad-
 the-card-seconds-be fore-tear-jerking-press-con fere nee/.
 21
    Infowars.com, College Professor says 'Crisis Actors' May Have Played Part if Sandy Hook was Indeed
 a Hoax, Infowars (Jan. 8, 2013), https://www.infowars.com/college-professor-says-crisis-actors-may-
 have-played-part-if-sandy-hook-was-indeed-a-hoax/.


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                                       January 27, 2013

       111. On January 27, 2013, the Alex Jones Channel posted a video now advertised on
YouTube under the title: "Why People Think Sandy Hook is A Hoax." 22 Just over a month had
passed since the shooting at Sandy Hook.

       112. Jones appeared in that video. During the video, he stated, "Now again, in the last
month and a half, I have not come out and clearly said that this was a staged event.
Unfortunately, evidence is beginning to come out that points more and more in that direction,
and we're going to show you that evidence in the moment. Now a lot of the tens of millions of
video views on YouTube concerning the Sandy Hook hoax surround CNN, and what appears to
be people who've been coached, people who have been given cue cards, people who are
behaving like actors."

         113. Later in the video, Jones stated, "One of the big issues out there that has people
asking questions is Robby Parker, who reportedly lost one of his daughters. And people see the
photos out there where it looks like Obama' s meeting with all three of his children, and things
like that. And, when you watch the footage, I know grieving parents do strange things, but it
looks like he's saying, 'Okay, do I read off the card,' he's laughing, and then he goes over, and
starts, um, breaking down and crying."

       114. Jones then played a video of Robby Parker making a statement the day after the
shooting. Parker lost his daughter, Emilie, in the Sandy Hook shooting.

      115. Under the video was a chyron with the words "Odd Parent Reaction from
SandyHook [sic]."

        116. As the video of Parker played, Jones commented over it. "I haven' t touched this,"
he said. "All I know is they're seizing on it. They staged fast and furious .... that killed
thousands, our government, to blame the Second Amendment, they'd stage anything."

        117. Later in the broadcast, Jones said, "This needs to be investigated. They're clearly
using this to go after our guns .... Something though, really, is starting to get suspicious here ..
. . But the fact that this whole thing could be staged, it's just mindblowing. Tell us what you
think. Great job to all the people out there with the crowdsourcing, that are resourcing all these
clips."

      118. A reasonable person would understand these statements to assert that the Sandy
Hook massacre was staged, and that the plaintiffs fabricated the deaths of their loved ones.

        119. The audience for this broadcast has included hundreds of thousands, if not
millions, of people.

                                           March 2013

22 https://www .youluhe.com/walch?v=tM5ZdO-lgEE.




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       120. On March 14, 2014, Jones stated, "We've clearly got people where it's actors
playing different parts of different people."

         121. He continued, "I've looked at it and undoubtedly there's a cover up, there's
actors, they're manipulating, they've been caught lying, and they were pre-planning before it and
rolled out with it."

        122. The audience for these broadcasts has included hundreds of thousands, if not
millions, of people.

                                           May 27, 2013

        123. On May 27, 2013, Dr. Steve Pieczenik appeared on the Alex Jones Radio Show in
an episode advertised on YouTube under the title "Sandy Hook was A Total False Flag!" 23

         124. During that appearance, Pieczenik stated, "Sandy Hook was a total false flag.
There was no individual involved; there was no Asperger's; there was no 24 kids who were
killed."

         125. In the parlance and narratives of mass-shooting conspiracy theorists, "false flag"
is the idea that a shooting or other attack was staged by the government or other powerful forces.

      126. A reasonable person would understand these statements to assert that the Sandy
Hook massacre was staged, and that the plaintiffs fabricated the deaths of their loved ones.

         127.   On information and belief, this episode was also broadcast through Jones's radio
affiliates.

        128. The audience for this broadcast has included hundreds of thousands, if not
millions, of people.

                                            May 13, 2014

       129. On May 13, 2014, The Alex Jones Radio Show broadcast an episode advertised
on YouTube under the title "Bombshell: Sandy Hook Massacre Was A DHS Illusion Says
School Safety Expert." 24

         130.   That day, Jones hosted Wolfgang Halbig.

         13 l. During this video, Halbig stated: "I think the reason they're not answering those
 questions 'cause I think it's going to expose their whole scam."

 23
      The Alex Jones Channel, Dr. Steve Pieczenik: Sandy Hook was A Total False Flag!, YouTube (Mar.
 27, 2013), htt ps://www. youtube.com/watch?v=5EfyD7Wu5f0 &t= 18s.
 2
   -1 Alex Jones Channel, Bombshell: Sandy Hook Massacre Was A DHS Illusion Says School Safety Expert,
 YouTube (May 13, 2014), https ://www .youtube.com/watch'?v=x2a1 FwYEZS4.


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          132.   Jones asked Halbig, "What are the big smoking guns ... what are the big red
flags?"

        133. Halbig responded, "The red flags is that you're looking at $29 million ... and
there are 39 other community nonprofit organizations within Newtown that received a lot of
funds."

        134. Jones interjected: "You're saying a motive for the locals to go along with the
fraud is money."

         135. Later, Jones prompted Halbig, "What about the kids going in circles, back and
forth, the same people, into the school for the helicopters; it looked like a fake drill ... just go
through those points."

        136. Jones summarized, stating, "The cover up is the prima facie proof of the larger
crime, and that we're being lied to."

         137. He continued, "The whole thing, you've got 'em jumping gun ... that Bloomberg
was saying get ready the day before, get ready to fundraise on mass shootings ... had a false
start, didn't you, Bloomy."

       138. Jones was asserting that former Mayor of New York City Michael Bloomberg
knew about the shooting beforehand. The clear implication of this statement is that the shooting
was "staged" and a hoax.

        139. Halbig understood Jones. He responded, "Children did not die, teachers did not
die, on December 14, 2012."

        140. Halbig further stated, "Alex, we've never had a time in our history, where Sandy
 Hook, a school massacre, the biggest illusion ever portrayed by Homeland Security and FEMA .
   "

          141. During that show, Jones stated, in reference to the Sandy Hook shooting, "I mean
 it's fake ... it's fake ... you've got parents acting ... it just is the fakest thing since the three-
 dollar bill."

       142. A reasonable person would understand these statements to assert that the Sandy
 Hook massacre was staged, and that the plaintiffs fabricated the deaths of their loved ones.

          143.    On information and belief, this episode was also broadcast through Jones's radio
 affiliates.

         144. The audience for this broadcast has included hundreds of thousands, if not
 millions, of people.




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                                     September 25, 2014

        145. On September 25, 2014, the Alex Jones Radio Show broadcast an episode
advertised on YouTube under the title "FBI Says Nobody l(jlled at Sandy Hook Massacre." 25

       146.   This assertion was a complete fabrication: the FBI had made no such statement.

       147. During the September 25, 2014 broadcast of the Alex Jones Radio Show, Jones
and Halbig asserted that FBI crime statistics showed that no one was killed at Sandy Hook.

       148.   This was a false statement. FBI crime statistics showed no such thing.

       149. Jones stated that video from the day of the shooting showed that the same children
were cycled in and out of the school and that no emergency helicopters were sent to the school,
and were "clearly staged."

       150. Jones stated that two supposed former high-level national-defense officials had
declared that Sandy Hook and the Boston bombing were faked.

        151. Halbig asserted that "there were no trauma helicopters" sent to Newtown, that the
other 600 children at the school could not be found, and that Sandy Hook Elementary School
was "a toxic waste dump .... the filthiest, most deplorable school ... that I have ever seen."

       152.   Jones asserted that the school was "a cut-out" used as a stage for the event.

       153.   Jones and Halbig both stated "I wish it was real instead of fake."

       154. Halbig stated that Connecticut state troopers "used they [sic] script," that "it's
nothing but corruption in Connecticut," and that 16 Connecticut state troopers lied under oath.

        155. Halbig accused a company called Obsidian, located in Washington, D.C., of
scripting well-known crises around the world, including Sandy Hook.

       156. Halbig stated that "nobody died" at Sandy Hook. He stated that "they never
allowed the paramedics or EMTs ever inside the school."

        157. The audience for this broadcast has included hundreds of thousands, if not
millions, of people.

        158. On September 26, 2014, Infowars.com published an article by Adan Salazar
entitled "SANDY HOOK INVESTIGATOR: CONNECTICUT PD HAD FBI FALSIFY CRIME
STATISTICS."


25
  https://www.youtuhe.com/watch?v=NI RlzXvGy2s. This video has since been removed "for violating
YouTube's policy on harassment and bullying," but is now available at https://www.voutubc.com
/watch'?v=eq Vqmry4KW0.


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        159. The article repeatedly quoted Wolfgang Halbig, who alleged that he had
"discovered various anomalies which have led him to believe the entire incident was a contrived
event."

         160. The article contained the following quote: "The American people need to wake up
and listen to what these exercises are," says Halbig. "A Homeland Security FEMA Capstone
Exercise, it starts at the White House, at the president's desk, goes all the way through Congress,
through the Attorney General, down through the FBI, all the way down to the local government.
It is a whole community event, and that's what I think happened at Sandy Hook."

          161.   The article quoted Halbig as saying that there was "a 'script' followed during the
event."

        162. It quoted him again, saying, "I'm telling you nobody died [at Sandy Hook] ...
I've been a school administrator for 30 some odd years. When I have a child with a broken arm,
or I've got a fight on the school bus, or a child's been stabbed or shot, the first thing we get ready
for are lawsuits. Alex, if there would have been just 2 or 3 lawsuits filed by the parents or loved
ones who lost someone that day at Sandy Hook, I'd go away."

      163. A reasonable person would understand these statements to assert that the Sandy
Hook massacre was staged, and that the plaintiffs fabricated the deaths of their loved ones.

        164.     On information and belief, the article has been viewed by hundreds of thousands
of persons.

                                         December 12, 2014

        165. On December 12, 2014, Infowars Nightly News broadcast an episode now
advertised on YouTube under the title "The Ultimate Sandy Hook Debate As The 2nd
Anniversary Looms." 26

       166. The episode consisted of a debate between Keith Johnson (a self-described
conspiracy theorist with americanfreepress.net) and Halbig, about Sandy Hook, moderated by an
lnfowars personality named Rob Dew.

         167. During that broadcast, Halbig asserted that Sandy Hook Elementary School had
 been used as a toxic waste dump before December 14, 2012, and therefore no shooting took
 place there.

         168. Halbig stated, "On behalf of Dawn Hochsprung, who supposedly was the
 principal and was shot [in the massacre] ... I can tell you this with certainty: Dawn Hochsprung
 would never, ever, in her life, have allowed her school ... to look so filthy and so deplorable ...
 . she would have never ... allowed her school to become a toxic waste dump exposing every one


 26 The Alex Jones Channel, The Ultimate Sandy Hook Debate As The 2nd Anniversarv Looms, YouTube

 (Dec. 12, 2014), hltps://www.youtube.com/watch'!v=6aKOP-WxjU8 .


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of her children and school staff members to serious lifelong health risks . . . . The doors are
rotten, they're filthy ... there's mildew."

      169. A reasonable person would understand these statements to assert that the Sandy
Hook massacre was staged, and that the plaintiffs fabricated the deaths of their loved ones.

        170. The audience for this broadcast has included hundreds of thousands, if not
millions, of people.

                                        December 28, 2014

      171. On December 28, 2014, during The Alex Jones Radio Show, Jones took a call
from Kevin, a listener who called in claiming to live close to Newtown, Connecticut. 27

         172. Kevin said, "I'm calling about Sandy Hook. My take on it is ... The whole thing
is pretty much the next step in reality TV, because with other false flags, like 9/1 l or Oklahoma
City, or the Boston bombing, at least something happened. With Sandy Hook, there's no there
there. You've got a bunch of people walking around a parking lot, pretty much what it comes
down to."

       173. Jones interrupted Kevin. "No, no, I've had the investigators on, the state police
have gone public, you name it," he said. "The whole thing is a giant hoax. And the problem is,
how do you deal with a total hoax? How do you even convince the public something's a total
hoax?"

         174. Kevin responded, "I always tell people the same thing: go out and prove the
official story. And ... I know the millisecond this happened, with that now-fake picture of the
kids being led out of the school, that there's nothing that's going to sell this agenda like dead
elementary school kids."

        175. Jones interrupted Kevin again. "The general public doesn't know the school was
actually closed the year before," he said. "They don't know they've sealed it all, demolished the
building. They don't know that they had the kids going in circles in and out of the building as a
photo-op. Blue screen, green screens, they got caught using."

        176. Jones continued, "People just instinctively know that there's a lot of fraud going
 on. But it took me about a year with Sandy Hook to come to grips with the fact that the whole
 thing was fake. I mean, even I couldn't believe it. I knew they jumped on it, used the crisis,
 hyped it up. But then I did deep research-and my gosh, it just pretty much didn't happen."

       177. A reasonable person would understand these statements to assert that the Sandy
 Hook massacre was staged, and that the plaintiffs fabricated the deaths of their loved ones.

          178.    On information and belief, this episode was also broadcast through Jones' s radio
 affiliates.

 27
      https://www.youtube.com/watch?v=TGCfi otOCU.


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        179. The audience for this broadcast has included hundreds of thousands, if not
millions, of people.

                                         January 2, 2015

     180. On January 2, 2015, lnfowars.com published an article by Adan Salazar entitled
"MYSTERY: SANDY HOOK VICTIM DIES (AGAIN) IN PAKISTAN."

       181. The article alleged that the "face ... one of the children supposedly killed in the
December 2012 Sandy Hook shooting in Newtown, Connecticut" had "without explanation . . .
appeared in multiple photos and reports" related to an attack conducted by the Pakistani Taliban
on a Pakistan Army school on December 16, 2015.

        182. "Can the photo's misuse simply be brushed off as another bumbling Google
image search mistake?" the article stated. "Or could it be willful subterfuge aimed at poking fun
at those who question the validity of the Sandy Hook event?"

           183.   The pictures used were images of Noah Pozner.

           184.   Upon information and belief, hundreds of thousands of people have viewed this
article.

                                         January 13, 2015

        185. On January 13, 2015, during a broadcast of The Alex Jones Radio Show, Jones
said, "Yeah, so, Sandy Hook is a synthetic completely fake with actors, in my view,
manufactured. I couldn't believe it at first. I km;w they had actors there, clearly; but I thought
they killed some real kids. And it just shows how bold they are, that they clearly used actors. I
mean they even ended up using photos of kids killed in mass shootings here in a fake mass
shooting in Turkey-so yeah, or Pakistan. The sky is now the limit. I appreciate your call." 28

      186. A reasonable person would understand these statements to assert that the Sandy
Hook massacre was staged, and that the plaintiffs fabricated the deaths of their loved ones.

         187.     On information and belief, this episode was also broadcast through Jones's radio
affiliates.

        188. The audience for this broadcast has included hundreds of thousands, if not
millions, of people.




28
     https://www .youtube.com/watch?v=Ap-DvMoiMOY.


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                                           March 4, 2015

        189. On March 4, 2015, The Alex Jones Radio Show broadcast an episode now
advertised on YouTube under the title "New Bombshell Sandy Hook Information In-Bound." 29

         190.    Jones hosted Halbig on that episode.

      191. During the broadcast, Jones asked Halbig to explain why Sandy Hook was
"completely phony."

          192.   Halbig stated the school was not in operation at the time of the shooting.

         193. Jones stated that the school was suddenly reopened, received a "falling report"
[sic], and did not look like a real school.

       194. Halbig stated that it was the "most filthiest [sic] most deplorable school" and
"loaded with lead paint ... asbestos ... PCP."

        195. Halbig stated that trauma helicopters were not called and that paramedics were
not allowed to enter the school.

       196. Jones stated, "I'm saying it was a drill, a giant piece of theater, did they really kill
some kids? I don't know."

         197. Referring to video of parents of children killed in the shooting, Jones stated that
"they . . . bring in actors to break down and cry... used the same actors as different people."

        198. Both Jones and Halbig stated that Connecticut police ate lunch inside the school
the day of the shooting.

        199.   Halbig encouraged listeners to contact the Newtown school board and ask them
his questions.

        200. A reasonable person would understand Jones's and Halbig's statements to assert
that the Sandy Hook massacre was staged, and that the plaintiffs fabricated the deaths of their
loved ones.

         201.     On information and belief, this episode was also broadcast through Jones' s radio
affiliates.

        202. The audience for this broadcast has included hundreds of thousands, if not
 millions, of people.




 29
      https://www.youtube.com/watch?v= 7ib5WkULBY.


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                                          May 28,2015

      203. On May 28, 2015, lnfowars Nightly News broadcast an episode now advertised
on YouTube under the title: "Sandy Hook: The Lies Keep Growing." 30

         204.   David Knight hosted Halbig on lnfowars Nightly News.

         205.   Halbig accused Newtown police chief Mike Kehoe of committing perjury.

         206.   Halbig once again appeared, and stated that the school was unsanitary and unsafe.

       207. Halbig's website was repeatedly advertised and listeners were encouraged to
support him financially.

      208. A reasonable person would understand Halbig' s statements to assert that the
Sandy Hook massacre was staged, and that the plaintiffs fabricated the deaths of their loved
ones.

         209.   On information and belief, this episode was also broadcast through Jones's radio
affiliates.

       210. The audience for this broadcast has included hundreds of thousands, if not
millions, of people.

                                          May 29, 2015

       211. On May 29, 2015, The Alex Jones Channel published an lnfowars video, now
posted on YouTube with the title "School Administrator Exposes Sandy Hook Stonewall." 31

        212. The video was introduced by David Knight. The video then cut to Dan Bidondi,
an Infowars reporter, who was reporting from Wolfgang's Freedom of Information Act hearing
in Hartford, Connecticut.

       213. The video cut back and forth between excerpts from the hearing and interviews of
Halbig by Bidondi in the hallway outside the hearing room.

       214. Infowars reporter Dan Bidondi traveled to Hartford, CT to report on this hearing
on behalf of Infowars and Alex Jones.

        215. On information and belief, other lnfowars agents, including the person doing the
 video recording, traveled to and were located in Hartford, Connecticut, for the creation of this
 video.



 30
      https://www.youtube.com/watch?v=Ml3KVj2nVRA.
 31
      https://www.youtube.com/watch?v=S08Xb-t4nT4.


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        216. Later on May 29, 2015, the Alex Jones Channel published another Infowars video
on YouTube, entitled "New Sandy Hook Questions Arise from FOIA Hearing." 32 The video
featured David Knight interviewing Wolfgang Halbig by streaming video.

       217. During the interview, Hal big stated that Sandy Hook Elementary School was "a
toxic waste dump .... and yet, we have parents who would allow their children to attend that
type of a school? I don't believe so. And if they did, those parents are negligent for putting their
children at risk."

       218. Halbig was clearly suggesting that the school was empty on the day of the
shooting, and therefore that the shooting did not happen-and that the Sandy Hook parents are
lying about their children's deaths.

        219. On information and belief, these statements were heard by hundreds of thousands,
if not millions, of people.

                                               July 7, 2015

     220. On July 7, 2015, The Alex Jones Radio Show broadcast a video now posted on
YouTube with the title "Retired FBI Agent Investigates Sandy Hook: MEGA MASSIVE
COVER UP."33

         221. Jones noted, referring to the May 29, 2015 video, "I knew that we'd sent a
reporter Dan Bidondi there for days, to cover the city council hearings about it, the fact that
they' re sealing everything." 34

         222. "[T]he more we look at Sandy Hook," he said, "I don't want to believe it's a false
t1ag. I don't know if kids really got killed, but you've got green screen with Anderson Cooper ..
. and then his nose disappears. It's fake! The whole thing, it's-I don't know what happened."

        223. He continued, "It's kind of, you see a hologram at Disney World in the haunted
house, I don't know how they do it, it's not real. When you take your kids to the haunted house
and there are ghosts Hying around, it's not real, it's staged ... I don't know what the trick is
here, I got a good suspicion. But when you've got Wolfgang Halbig . . . . he went and
investigated, no paperwork, no nothing, it's bull."

       224. Later, Jones stated, "But what about how for a mass shooting in Pakistan, they got
photos of Sandy Hook kids," and referring to an Infowars article, stated, "it's like the same P.R.
company is running this .... and then they try to hit us with fake copyright deals whenever we
show this."



 32
    https://www. voutube.corn/watch'?v=.5cl179t7Mrw.
 33
    https://www.mediamatters.org/embed/clips/2016/ I I/29/5 I 284/gcn-alex jones-20 I 50707-:-,hootin~;
 https://www.youtube.com/watch?v=8YV1cWq8YSc.
 34
    https://www .youtube.com/watch?v=jCOe3qlgvFA.


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       225. Jones put the article on the screen and read the headline: "Mystery: Sandy Hook
Victim Dies (Again) in Pakistan."

      226. A reasonable person would understand these statements to assert that the Sandy
Hook massacre was staged, and that the plaintiffs fabricated the deaths of their loved ones.

         227.   On information and belief, this episode was also broadcast through Jones's radio
affiliates.

       228. The audience for this broadcast has included hundreds of thousands, if not
millions, of people.

                                       November 17, 2016

        229. On November 17, 2016, the Alex Jones Show broadcast an episode in which Alex
Jones claimed that he had never claimed that Sandy Hook was a hoax. Almost immediately
thereafter, he rehearsed a number of his common arguments that Sandy Hook was a hoax.

       230. These included that "Anderson Cooper is using a green screen, his nose
disappears"; "they have kids going in circles back into the buildings"; "the building was closed
years before"; "it was filthy"; "no emergency helicopters were launched"; and "they're sealing
the death certificates and everything."

       231. Jones continued, "we've sent reporters up there, man, and that place is
like Children of the Corn or something. I mean it is freaking weird."

        232.    Jones further referenced "weird videos of reported parents of kids laughing and
then all of a sudden they do the hyperventilating to cry to go on TV," suggesting that parents of
children killed at Sandy Hook were acting. 35

      233. A reasonable person would understand these statements to assert that the Sandy
Hook massacre was staged, and that the plaintiffs fabricated the deaths of their loved ones.

         234.   On information and belief, this episode was also broadcast through Jones's radio
affiliates.

       235. The audience for this broadcast has included hundreds of thousands, if not
millions, of people.

                                        November 18, 2016

        236. On November 18, 2016, Jones broadcast a video now advertised on YouTube
 under the title, "Alex Jones Final Statement on Sandy Hook." 36

 35
     https://www.youtube.com/watch?v=KxwnPqwxeag; https ://www.mediamatters.org/hlog/2016/
  l I/ 17 /trump-ally-alex-jones-doubles-down-sandy-hook-conspiracy-theories/214524.
 36
     https://www .youtube.com/watch'!v=Mwu<lDfz 1yAk.


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        237. During that video, Jones stated, "I want to reach out to my listeners as well and
just clarify where I stand on the reported tragedy at Sandy Hook that took place at that
elementary school."

        238. He continued: "For the last three or four years, it's been mainstream media's
number-one attack against me to say that I said there was never anyone that actually died there.
I've hosted debates against both sides, and I've been criticized by both sides-people that say
that no one died there and people who say that the official story is exactly as we've been told.
And I've always said that I'm not sure about what really happened, that there's a lot of anomalies
and there has been a cover-up of whatever did happen there."

        239. He stated: "There's a few clips Hillary used in her campaign of me out of context
saying I can see how people that look at all this evidence say no kids died there and this whole
thing is a giant hoax, but at the same time there is some evidence that people died there. They
take that out of context and misrepresent it. That's why they're the deceptive corporate media.
But for those who do have an attention span for, say, 10 minutes or so, I will present to you the
questions. And I'm going to be quite frank, I don't know what really happened. I know there are
real mass shootings. I know people lose children. I'm a father. It hurts my heart. So I don't know
what the truth is. All I know is the official story of Sandy Hook has more holes in it than Swiss
cheese."

        240. Jones rehearsed several of his most commonly employed arguments that the
Sandy Hook shooting was staged, including that Anderson Cooper was standing in front of "a
blue screen or a green screen," that video was "looped," and that "one of the reported fathers of
the victims ... [was] doing classic acting training."

         241. In closing, Jones said, "This is a tragedy. I wish it never would have happened.
But quite frankly, I wish that the official story was true because that's a lot less scary than them
staging something like this. But when you think about how they staged [weapons of mass
destruction] to kill over a million Iraqis, when you think about all the other hoaxes, all the other
lies, all the other rigging, and the way they're freaking out about it and trying to cover up every
level of it, it just makes me ask what really happened there?"

        242. The clear implication of these statements is that the accepted account of Sandy
 Hook-that the plaintiffs lost their loved ones in the shooting-is false, and that the plaintiffs
 have fabricated their loved ones' deaths.

          243.   On information and belief, this episode was also broadcast through Jones's radio
 affiliates.

        244. The audience for this broadcast has included hundreds of thousands, if not
 millions, of people.




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                                         November 28, 2016

       245. On November 11, 2016, plaintiff Erica Lafferty published an op-ed in USA Today
asking President-Elect Trump to disavow Alex Jones and other people who falsely assert that the
Sandy Hook shooting was a hoax. 37

       246.    In response to the open letter, lnfowars broadcasted a five-minute rant by Owen
Shroyer, an Infowars "reporter," defending Jones and attacking Lafferty. 38

        247. Shroyer directly addressed Lafferty, stating, "Your logic [about gun control]
failed your mother."

        248. Shroyer directly addressed Lafferty, accusing her of saying, "without any proof,"
that Alex Jones had said that Sandy Hook was a hoax.

      249.        Shroyer stated, "[Jones is] not the one who's denying Sandy Hook ever
happened."

      250. These statements were obviously untrue: Alex Jones has denied many times that
Sandy Hook ever happened.

       251. Shroyer stated falsely that Lafferty had asserted that then-President-Elect Trump
needed to face the death of a loved one.

        252. This statement falsely described Lafferty's appeal to sympathy as if it were a
threat on the family of the President-Elect of the United States.

       253. Shroyer repeatedly cited Halbig, saying that he has "done the best reporting" on
the Sandy Hook shooting.

       254. He stated to Lafferty, "Why are you butting heads with people [Jones and Halbig]
that want to find out the truth of what happened to your mother?"

           255.   The truth about Lafferty's mother, Dawn Hochsprung, is that she is dead.

        256. Dawn Hochsprung is dead because, on the morning of December 14, 2012, she
sacrificed her life trying to save her students from Adam Lanza's murderous rampage at Sandy
Hook Elementary School.




 37
      Erica Lafferty, Mr. Trump, denounce Alex Jones: Sandy Hook Principal's Daughter, USA Today
 (Nov. 25, 2016), https://www .usatoday.corn/stnry/opinion/2016/ I I/25/donald-trump-~andy-honk-alex-
 jones-colurnn/94335420/.
 38 https://www .yuutube.com/watch?v=9PdrlrSCLuO.




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                                            March 8, 2017

          257.    On the March 8, 2017 edition of The Alex Jones Show, Jones hosted Eddie
Bravo.

        258. During the interview, Bravo stated, "Dr. Steve Pieczenik, and you got some heat
for this, this is kind of changing the subject a little bit. Dr. Steve Pieczenik, on your show, said
that no kids died at Sandy Hook, that it was a homeland security drill that they passed off as a
real-"

       259. Jones stated, "He says that. And I've been hit really hard with it. I can't prove it
one way or the other. I know Anderson Cooper is standing up there and turns and his whole nose
disappears. I work in TV, I know what a blue screen is, bro."

       260. A reasonable person would understand Jones and Bravo to have been stating that
the Sandy Hook massacre was faked, and that the plaintiffs participated in a fraud that was based
on lying about the deaths of their loved ones.

         261.     On information and belief, this episode was also broadcast through Jones's radio
affiliates.

       262. The audience for this broadcast has included hundreds of thousands, if not
millions, of people.

                                             April 22, 2017

     263. On April 22, 2017, the Alex Jones Show broadcast an episode, also released on
YouTube, entitled "Sandy Hook Vampires Exposed." 39

         264. During that episode, Jones showed video footage of an interview between one of
the Sandy Hook parents and Anderson Cooper. Over this footage, Mr. Jones stated: "And then
we've got Anderson Cooper, famously, not just with the flowers blowing and a fake, but when
he turns, his nose disappears repeatedly because the green-screen isn't set right. And they don't
like to do live feeds because somebody might run up. CNN did that in the Gulf War and admitted
it. They just got caught two weeks ago doing it in supposedly Syria. And all we're saying is, if
these are known liars that lied about WMDs, and lied to get us in all these wars, and backed the
Arab Spring, and Libya, and Syria, and Egypt, and everywhere else to overthrow governments,
and put in radical Islamicists [sic], if they do that and have blood on their hands, and lied about
the Iraq War, and were for the sanctions that killed half a million kids, and let the Islamicists
 [sic] attack Serbia, and lied about Serbia launching the attack, when it all came out later that
Serbia didn't do it, how could you believe any of it if you have a memory? If you're not Dory
 from 'Finding Dory,' you know, the Disney movie. Thank god you're so stupid, thank god you
 have no memory. It all goes back to that."

           265.    Jones told his audience that they should not "believe any of it."

 39
      https://www.youtube.com/watch?v=rUn I jKhWTXl.


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        266. As discussed throughout this complaint, the "faked" Anderson Cooper interview
is one of Jones's favorite arguments that the entire Sandy Hook massacre was fabricated and that
the plaintiffs were actors who faked their loved ones' deaths.

       267.     During the April 22, 2017 broadcast, Jones and an Info wars producer made other
statements rehearsing familiar themes from the defendants' campaign of lies and abuse.

        268. In conversation with the producer, Jones stated: "And that's on helicopter footage,
and then they say it never existed, and later admit it does, and the school was closed until that
year, in the videos it's all rotting and falling apart and nobody is even in it, and the kids are going
in circles, in and out of the building with their hands up, and they never called rescue choppers. I
mean, exactly."

       269. The Infowars producer responded: "There's some supposed dash footage where
the people are smiling and getting their lunches ready, police officers. You think you're going to
have smiling police officers at a time when they're supposedly bringing out twenty dead kids?
And they're smiling and getting their lunches ready."

        270. Mr. Jones responded: "And they had Port-A-Potties being delivered an hour after
it happened, for the big media event."

       271. The Infowars producer responded: "We've never seen, there was never been any
even blurred photos of any bodies or anything .. . . We didn't even get blurred images with the
dead kids in Syria. We got crisp photos."

       272. Especially knowing the defendants' previous statements, a reasonable person
would understand these statements to assert that the Sandy Hook massacre was staged, and that
the plaintiffs fabricated the deaths of their loved ones. A reasonable person would also
understand the defendants to be stating that the plaintiffs were "Sandy Hook Vampires."

                                            April 28, 2017

         273. On April 28, 2017, Jones held a press conference in which he was asked if he
believes that Sandy Hook was a "false flag." Jones stated: "I think we should investigate
everything because the government has staged so much stuff, and then they lie and say that I said
the whole thing was totally fake when I was playing devil's advocate in a debate. I said maybe
the whole thing is real, maybe the whole thing is fake. They were using blue screens out there ..
. . Yes, governments stage things." 40

         274. Especially knowing the defendants' previous statements, a reasonable person
 would understand these statements to assert that the Sandy Hook massacre was staged, and that
 the plaintiffs fabricated the deaths of their loved ones.



 -1o http~://www .youtube.com/watch'!v=StOyqyt0fkY.



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                                           June 13, 2017

       275. On June 13, 2017, Jones posted a video to the InfoWars Facebook page in which
he once again rehearsed his lie about the "faked" CNN interview. Jones stated: "But there's been
a cover-up. Anderson Cooper got caught, faking where his location was with blue-screen. I
mean, it's all there." 41

        276. Especially knowing the defendants' previous statements, a reasonable person
would understand these statements to assert that the Sandy Hook massacre was staged, and that
the plaintiffs fabricated the deaths of their loved ones.

                                    The Megyn Kelly Interview

                                             The Preview

       277. On June 11, 2017, television news personality Megyn Kelly interviewed Jones for
her weekly news magazine on NBC News.

          278.    NBC released a preview of the interview on the internet on the following day.

        279. In footage contained in the preview, Jones stated, "Well, Sandy Hook's complex
because I have had debates where, we devil's advocates have said the whole story is true, and
then I have had debates where I have said that none of it is true."

       280. Later, Kelly stated, "When you say parents faked their children's deaths, people
get very angry."

        281. In response, Jones asserted that people do not get angry about the deaths that
resulted from the sanctions against Iraq or other tragedies in the world, and complained about the
media's coverage of such events. He did not deny claiming that the plaintiff parents faked their
children's deaths.

       282. Kelly stated, "That doesn't excuse what you did and said about Newtown, and
you know it."

      283 . Jones stated, "Here's the difference. I looked at all the angles of Newtown, and I
made my statements long before the media even picked up on it."

        284. The most reasonable interpretation of this statement is that Jones was saying that
 his account-in which he repeatedly stated that the shooting was staged, that parents were actors,
 and that no children were killed-was more reliable than the established media account, and true.

           285.   These statements were heard by millions of people.


 41
      https://www.foccbook.com/80256732576/vidcos/ IO 155465593882577/.



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                                   June 15, 2017 - bzfowars

        286. During a video released on Info wars on June 15, 2017, Jones stated the following
about his interview with Megyn Kelly: "She said things like, 'Oh, you talked about Newtown not
happening and hurt people's feelings,' and I explained, 'No I looked at all different angles,
[unintelligible] could have happened, but they staged the WMDs in Iraq and they staged the
babies in the incubators, so they've lied about babies before ... I said, they've staged babies in
incubators in Bush I, and then they did it again ... so it could've been staged, because they stage
things."'

        287. Especially knowing the defendants' previous statements, a reasonable person
would understand these statements to assert that the Sandy Hook massacre was staged, and that
the plaintiffs fabricated the deaths of their loved ones.

       288. The audience for this broadcast has included hundreds of thousands, if not
millions, of people.

                Alex Jones's June 18, 2017 Pre-NBC-Broadcast Programming

       289. The final version of Jones's interview with Megyn Kelly aired on NBC News on
June 18, 2017.

       290.    Before the interview aired that day, Jones published several pre-show videos on
Infowars.

       291. During those videos, he made repeated statements suggesting that the Sandy Hook
shooting did not happen and/or that the plaintiffs' loved ones did not die there.

                A. In one, he said, "But I'm looking at it I think Newtown did happen. But I'm
                   not the creator of people questioning Newtown and Sandy Hook. My guests
                   covered it, I've covered it."

                B. Later, he said, "My intel is that I've seen the parents and it looked real to me.
                   If I can't prove something one hundred percent I'm not going to go there. We
                   know governments have staged things and you have a right to question it."

                C. He continued, "But you have the total right to question Sandy Hook. You
                   know, I'm tempted to make a documentary about it, just for my own hellish
                   experience. It's like the babies in the incubators ... none of it was true."

                D. He added, "No, I've been saying since it happened that I don't know whether
                   the official story's true or not. And now you can't prove it one way or the
                   other there's some anomalies. But the parents look pretty legitimate to me."

                E. While interspersed with vacillations, Jones's statements convey a clear
                   message: that the accepted account of the Sandy Hook shooting-that the



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                  plaintiffs lost their loved ones there-is untrue, and that the plaintiffs
                  fabricated the deaths of their loved ones. Of special note was his abnormal and
                  "official" tone, which a reasonable person knowing Jones's show would
                  interpret as a "wink" at his audience.

       292.   Later that day, Jones hosted Dr. Steve Pieczenik as a guest on his program.

        293. As discussed in paragraphs 123 through 128 of this complaint, Pieczenik had
stated in a previous appearance on Jones's show that no children died at Sandy Hook and that the
parents were actors.

       294.     In introducing Pieczenik on this occasion, Jones stated, "He's a smart guy, he
doesn't buy into what happened, reportedly there in Newtown I personally can't prove it one way
or the other so I'm just going to say that my heart goes out to the families and I believe it
happened."

         295. During his appearance on the show, Pieczenik said, "All the hedge fund owners ..
. left down to Miami thanks to Dan Malloy and Sandy Hook. So every one of these paid [Sandy
Hook] parents, whoever they may be, are totally, totally disingenuous."

        296. In response to Pieczenik's statement, Jones said, in his abnormal, "official" tone,
"All I know is that they've staged fake things before."

      297. A reasonable person would understand these statements to assert that the Sandy
Hook massacre was staged, and that the plaintiffs fabricated the deaths of their loved ones.

       298.    These statements were heard by hundreds of thousands, if not millions of people.

                               The June 18, 2017 NBC Broadcast

       299. During the interview with Kelly that aired on NBC, Jones made several additional
statements suggesting that the shooting never happened.

       300. At one point, Kelly read Jones's previous statement describing the Sandy Hook
shooting as a hoax, recounted in paragraphs 171 through 179 of this complaint.

        301. In response, Jones stated, "At that point-and I do think there was some cover up
and some manipulation-that is pretty much what I believed. But then I was also going into
devil's advocate, but then we know there's mass shootings and these things happen. So again-"

       302.    Later, Kelly said, "If you wrongly went out there and said it was a hoax. That's
wrong."

         303. In response, Jones said, "But what I already answered your question was-
 listeners and other people are covering this-I didn't create that story."




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       304. Later, Kelly stated, "But Alex, the parents-one after the other-devastated. The
dead bodies that the coroner autopsied."

        305. In response, Jones said, "And they blocked all that and they won't release any of
it. That's unprecedented-"

       306. Later, Kelly asked Jones if he was playing "devil's advocate" when he said "the
whole thing is a giant hoax."

        307. Jones responded, "Yes, because I remember in, even that day- I will go back for
memory-them saying but then some of it looks like it's real. But what do you do when they got
the kids going in circles in and out of the building with their hands up. I've watched the footage
and it looks like a drill."

       308. Even in that statement, while claiming-falsely-that he was playing "devil's
advocate" when making those previous statements, Jones again asserted that the Sandy Hook
shooting did not happen.

       309.    Next, Kelly said, "When you say parents faked their children's deaths, people get
very angry."

        310. Jones responded, "Oh, I know-but they don't get angry about the half million
that Iraq from the sanctions or the don't get angry about all the legal-"

       311. Later, Kelly said, "That doesn't excuse what you did and said about Newtown,
you know it."

       312. Jones responded, "Here's the difference, here's the difference-I looked at all the
angles of Newtown and I made my statements long before the media even picked up on it."

       313. In a voiceover, Kelly than noted that Jones, despite being "asked ... numerous
times what he now believes ... never completely disavowed his previous statements."

        314. It then played clip of Jones saying, "I tend to believe that children probably did
die there, but then you look at all the evidence on the other side, I can see how other people
believe nobody died there."

        315.   There is no evidence "on the other side."

       316. A reasonable person would understand Jones' s statements to assert that the Sandy
 Hook massacre was staged, and that the plaintiffs fabricated the deaths of their loved ones.

        317.    More than three million people saw and heard these statements by Jones.




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                        Alex Jones's June 18, 2017 Counter-Programming

        318. Meanwhile, as the interview played on NBC, Jones himself was broadcasting a
live play-by-play video commentary on Infowars.

       319. The Sandy Hook segment of the NBC interview began with a Megyn Kelly
voiceover describing Jones's statements that Sandy Hook was a hoax. As the voiceover played,
Jones said, "Babies in the incubators."

       320. As evidenced by statements recounted previously in this complaint, "babies in the
incubators" is a well-established Alex Jones metonym for a staged event.

       321. This statement is properly interpreted as a reiteration and reaffirmation of Jones' s
previous statements that the Sandy Hook shooting was staged and that no children died there.

        322. Later, as his statement that he "looked at all the angles of Newtown" in the NBC
interview played in the background, Jones said, "I said I thought it happened before they were
picked up. They never showed my final analysis."

      323. This statement appears to be an admission that Jones never actually believed that
Sandy Hook was a hoax, even as he maintained unequivocally that it was.

        324. On information and belief, these statements were also broadcast on Alex Jones's
radio affiliates.

          325.    Hundreds of thousands, if not millions, of people heard these statements.

                                             June 26, 2017

       326. During the June 18, 2017 profile of Jones for her NBC show Sunday Night with
Megyn Kelly, Ms. Kelly interviewed one of the Sandy Hook parents, Neil Heslin, about the
claims made by Jones, including that "the whole thing was fake" and "a giant hoax." Addressing
Jones's lies, Heslin told Kelly, "I lost my son. I buried my son. I held my son with a bullet hole
through his head."

       327. On June 26, 2017, Infowars broadcast a segment hosted by "reporter" Owen
Shroyer in which Shroyer claimed to have reviewed evidence showing it was impossible for Mr.
Heslin to have held his son and seen his injury. This broadcast was meant to reinforce and
support the underlying lie that the Sandy Hook parents are fakes. 42

        328. Shroyer stated: "The statement [Heslin] made, fact-checkers on this have said
cannot be accurate. He's claiming that he held his son and saw the bullet hole in his head. That is
his claim. Now, according to a timeline of events and a coroner's testimony, that is not possible."



42
     https://www .infowars.com/zero-hedge-Jiscovers-anomalv-in-alex-jones-hit-piece/.


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        329. Shroyer's support for this statement was video footage in which the local medical
examiner informed reporters that the slain students were initially identified using photographs
rather than in person. However, the Sandy Hook parents were permitted to see and hold their
children soon thereafter.

       330. Shroyer stated: "You would remember if you held your dead kid in your hands
with a bullet hole. That's not something you would just misspeak on." He continued, noting that
Heslin was "making a pretty extreme claim that would be a very thing vivid in your memory,
holding his dead child."

       331. Shroyer then stated: "The conspiracy theorists on the internet out there have a lot
of questions that are yet to be answered. You say whatever you want about the event, that's just a
fact."

       332. In concluding his report, Shroyer stated: "Will there be a clarification from Heslin
or Megyn Kelly? I wouldn't hold your breath. [Laugh]. So now they're fueling the conspiracy
theory claims. Unbelievable."

        333. A reasonable person would understand these statements, including the title of the
embedded video, to assert that the Sandy Hook massacre was staged, and that the plaintiffs
fabricated the deaths of their loved ones.

           334.   These statements were heard by at least tens of thousands, if not millions, of
people.

       335. On information and belief, the defendants have published other similar statements
of which the plaintiffs do not know at this time, but would obtain with reasonable discovery.

            COUNT ONE - Invasion of Privacy by False Light; Civil Conspiracy
  (Jacqueline Barden, Mark Barden, Jennifer Hensel, Ian Hockley, Nicole Hockley, Erica
  Lafferty, Jeremy Richman, Carlos M. Soto, Donna Soto, Jillian Soto, Carlee Soto-Parisi,
        David Wheeler, Francine Wheeler, & William Aldenberg v. All Defendants)

           336.   All previous allegations in this complaint are incorporated as if fully set forth
 herein.

        337. The defendants, as part of a campaign of harassment and abuse, broadcast
 numerous outrageous lies about the plaintiffs that represented such major misrepresentations of
 the plaintiffs' character, history, activities or beliefs that serious offense may reasonably be
 expected to be taken by a reasonable person in their position.

        338. The false light in which the defendants' statements placed the plaintiffs would be
 highly offensive to a reasonable person.

         339. The defendants had knowledge that their statements were lies, or acted with
 reckless disregard as to the falsity of their statements and the false light in which the plaintiffs



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would be placed.

          340.    These false publications have caused the plaintiffs actual and substantial damages.

       341. In light of their prior experience with similar sorts of reckless and false
statements, the defendants knew that their publications could cause the plaintiffs to suffer
harassment and potential violence.

           342.   The plaintiffs are private individuals and are neither public officials nor public
figures.

        343. The defendants broadcast their outrageous, cruel, and malicious lies about the
plaintiffs with knowledge that the statements were false or with reckless disregard as to whether
or not they were true.

       344. The defendants combined to conduct their campaign of harassment and abuse,
which included numerous unlawful acts or lawful acts by unlawful means.

        345. The defendants combined to perform these unlawful acts pursuant to their scheme
to harass and abuse the plaintiffs and in furtherance of that scheme.

           346.   These acts of the defendants resulted in damage to the plaintiffs.

           COUNT TWO - Defamation and Defamation per se; Civil Conspiracy
  (Jacqueline Barden, Mark Barden, Jennifer Hensel, Ian Hockley, Nicole Hockley, Erica
  Lafferty, Jeremy Richman, Carlos M. Soto, Donna Soto, Jillian Soto, Carlee Soto-Parisi,
        David Wheeler, Francine Wheeler, & William Aldenberg v. All Defendants)

           347.   All previous allegations in this complaint are incorporated as if fully set forth
herein.

        348. In repeatedly publishing false statements asserting or reasonably understood to be
asserting that the plaintiffs' loved ones did not die; and/or that the episode in which they were
killed was staged or their loved ones were still alive; and/or the plaintiffs were actors who faked
their loved ones' deaths; the defendants published numerous defamatory statements.

        349. These publications were not only individually defamatory, but part of a
continuous campaign of statements, starting in 2013 and continuing through at least 2017,
stating, asserting, implying and suggesting that the plaintiffs faked their loved ones' deaths
and/or are actors lying about the deaths of their loved ones.

         350. The statements contained in the defendants' campaign of harassment and abuse
 constitute defamation per se. The harmful nature of the defamatory statements is self-evident.
 The defamatory statements implicate the Plaintiffs in heinous criminal conduct. False
 implications of criminal conduct represent classic defamation per se.




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       351. The defendants' defamatory publications readily identified the plaintiffs to
millions of people.

       352.       The defendants' defamatory publications were broadcast to millions of people.

        353. The defendants' defamatory publications have injured the plaintiffs' reputations
and images, and they have exposed the plaintiffs to public and private hatred, contempt, and
ridicule. These false publications have caused the plaintiffs actual and substantial damages.

       354. In light of their prior experience with similar sorts of reckless and false
statements, the defendants knew that their publications could cause the plaintiffs to suffer
harassment and potential violence.

           355.   The plaintiffs are private individuals and are neither public officials nor public
figures.

        356. The defendants broadcast their outrageous, cruel, and malicious lies about the
plaintiffs with knowledge that the statements were false or with reckless disregard as to whether
or not they were true.

       357. The defendants combined to conduct their campaign of harassment and abuse,
which included numerous unlawful acts or lawful acts by unlawful means.

        358. The defendants combined to perform these unlawful acts pursuant to their scheme
to harass and abuse the plaintiffs and in furtherance of that scheme.

           359.   These acts of the defendants resulted in damage to the plaintiffs.

     COUNT THREE - Intentional Infliction of Emotional Distress; Civil Conspiracy
  (Jacqueline Barden, Mark Barden, Jennifer Hensel, Ian Hockley, Nicole Hockley, Erica
  Lafferty, Jeremy Richman, Carlos M. Soto, Donna Soto, Jillian Soto, Carlee Soto-Parisi,
        David Wheeler, Francine Wheeler, & William Aldenberg v. All Defendants)

           360.    All previous allegations in this complaint are incorporated as if fully set forth
herein.

         361. In broadcasting their campaign of outrageous and false statements about the
 plaintiffs, the defendants intended to inflict emotional distress or knew, or should have known,
 that emotional distress was the likely result of their conduct.

           362.    The defendants' conduct was extreme and outrageous.

           363.    The defendants' conduct was the cause of the plaintiffs' distress.

           364.    The emotional distress sustained by the plaintiffs was severe.




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         365. The defendants' conduct was so outrageous in character, and so extreme in
degree, as to go beyond all possible bounds of decency, and to be regarded as atrocious, and
utterly intolerable in a civilized community.

       366. In light of their prior experience with similar sorts of false and reckless
statements, the defendants knew that their publications could cause the plaintiffs to suffer
harassment and potential violence.

           367.   The plaintiffs have suffered actual and substantial damages.

           368.   The plaintiffs are private individuals and are neither public officials nor public
figures.

        369. The defendants broadcast their outrageous, cruel, and malicious lies about the
plaintiffs with knowledge that the statements were false or with reckless disregard as to whether
or not they were true.

       370. The defendants combined to conduct their campaign of harassment and abuse,
which included numerous unlawful acts or lawful acts by unlawful means.

        371. The defendants combined to perform these unlawful acts pursuant to their scheme
to harass and abuse the plaintiffs and in furtherance of that scheme.

           372.   These acts of the defendants resulted in damage to the plaintiffs.

       COUNT FOUR - Negligent Infliction of Emotional Distress; Civil Conspiracy
  (Jacqueline Barden, Mark Barden, Jennifer Hensel, Ian Hockley, Nicole Hockley, Erica
  Lafferty, Jeremy Richman, Carlos M. Soto, Donna Soto, Jillian Soto, Carlee Soto-Parisi,
        David Wheeler, Francine Wheeler, & William Aldenberg v. All Defendants)

           373.   All previous allegations in this complaint are incorporated as if fully set forth
herein.

       374. The defendants' campaign of outrageous, cruel, and malicious lies created an
unreasonable risk of causing the plaintiffs emotional distress.

           375.   The plaintiffs' distress was foreseeable.

        376. The plaintiffs' emotional distress was severe enough that it might result in illness
or bodily harm.

         377. The defendants' outrageous, cruel, and malicious conduct was the cause of the
 plaintiffs distress.

           378.    The plaintiffs have suffered actual and substantial damages.




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       379. In light of their prior experience with similar sorts of reckless and false
statements, the defendants knew that their publications could cause the plaintiffs to suffer
harassment and potential violence.

           380.    The plaintiffs are private individuals and are neither public officials nor public
figures.

        381. The defendants broadcast their outrageous, cruel, and malicious lies about the
plaintiffs with knowledge that the statements were false or with reckless disregard as to whether
or not they were true.

       382. The defendants combined to conduct their campaign of harassment and abuse,
which included numerous unlawful acts or lawful acts by unlawful means.

        383. The defendants combined to perform these unlawful acts pursuant to their scheme
to harass and abuse the plaintiffs and in furtherance of that scheme.

           384.    These acts of the defendants resulted in damage to the plaintiffs.

 COUNT FIVE: Connecticut Unfair Trade Practices Act, Conn. Gen. Stat.§ 42-ll0a et seq.
  (Jacqueline Barden, Mark Barden, Jennifer Hensel, Ian Hockley, Nicole Hockley, Erica
  Lafferty, Jeremy Richman, Carlos M. Soto, Donna Soto, Jillian Soto, Carlee Soto-Parisi,
        David Wheeler, Francine Wheeler, & William Aldenberg v. All Defendants)

           385.    All previous allegations in this complaint are incorporated as if fully set forth
herein.

        386. The defendants unethically, oppressively, immorally, and unscrupulously
developed, propagated, and disseminated outrageous and malicious lies about the plaintiffs and
their family members, and they did so for profit.

       387. This campaign of lies, abuse, and harassment was a deceptive practice and
offended public policy.

         388. The defendants' reprehensible conduct caused substantial injury to the plaintiffs
 and other consumers that is not outweighed by any countervailing benefits to anyone, and that
 the plaintiffs themselves could not have reasonably avoided.

        389. The defendants' conduct was a foreseeable cause of and a substantial factor
 causing the plaintiffs' injury.

            390.    The plaintiffs are private individuals and are neither public officials nor public
 figures.

         391. The defendants broadcast their outrageous, cruel, and malicious lies about the
 plaintiffs with knowledge that the statements were false or with reckless disregard as to whether



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or not they were true.

       392. The defendants combined to conduct their campaign of harassment and abuse,
which included numerous unlawful acts or lawful acts by unlawful means.

        393. The defendants combined to perform these unlawful acts pursuant to their scheme
to harass and abuse the plaintiffs and in furtherance of that scheme.

        394.   These acts of the defendants resulted in damage to the plaintiffs.



        WHEREFORE, THE PLAINTIFFS CLAIM DAMAGES IN EXCESS OF FIFTEEN

THOUSAND DOLLARS AND THE FOLLOWING RELIEF AS FURTHER SET FORTH

BELOW:

        Plaintiffs seek relief as follows:

        A.      Monetary damages;

        B.      Punitive damages;

        C.      Attorneys' fees;

        D.      Costs;

        E.      Declarative relief;

        This matter is within the jurisdiction of this court.




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Of this writ, with your doings thereon, make due service and return.
Dated at Bridgeport, Connecticut this 23rd day of May, 2018.



                                               THE PLAINTIFFS,


                                     By        Wl2JL4f1!Jt§t~
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